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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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PENSKE MEDIA CORPORATION,

                                            Plaintiff,                   20-CV-04583 (MKV)(VF)

                          -against-                                              ORDER

SHUTTERSTOCK, INC.,

                                             Defendants.
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VALERIE FIGUEREDO, United States Magistrate Judge:

          A telephonic conference was held on September 16, 2022. At that conference, all but one

of the outstanding discovery disputes raised by the parties in their joint letter to the Court, dated

December 30, 2021 (see ECF No. 94) were resolved for the reasons stated on the record. The

remaining unresolved dispute concerns Shutterstock’s Request for Production No. 78, which

sought all documents and communications reflecting any communications with any plaintiff in

any claim against Penske regarding any violation of Section 1202 of the Digital Millennium

Copyright Act. Penske objected to this request on relevance and undue burden grounds. Because

RFP No. 78 is quite broad and Shutterstock has not adequately explained why communications

from unrelated litigations involving other plaintiffs are relevant to the claims at issue here, the

request to compel Penske to search for and produce documents responsive to this request is

denied.          SO ORDERED.

DATED:           New York, New York
                 September 27, 2022


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                                                             VALERIE FIGUEREDO
                                                             United States Magistrate Judge
